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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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HEATHER M. PALMORE,                                         :
                                                            :
                                      Plaintiff,            :     Case No.: 2:24-cv-03057
                                                            :
          v.                                                :
                                                            :
NAPOLI SHKOLNIK PLLC, PAUL NAPOLI, :
MARIE NAPOLI, and HUNTER SHKOLNIK, :
                                                            :
                                      Defendants.           :
                                                            :
------------------------------------------------------------X

                       STIPULATION OF DISMISSAL WITH PREJUDICE

        IT IS HEREBY STIPULATED AND AGREED, by the undersigned counsel for

Plaintiff and all Defendants, that the above-captioned action is voluntarily dismissed with

prejudice, pursuant to Fed. R. Civ. Pro. 41(a)(1)(A)(ii), with each party bearing its own fees and

costs, and with each party waiving all rights to appeal.

Dated: June 4, 2024
       New York, New York


By: /s/ David E. Gottlieb                                       By: /s/ Holly G. Rogers____
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